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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

STREAM TV NETWORKS, INC.,

       Plaintiff,
                                          C.A. No. 22-851-CJB
               v.

SHADRON STASTNEY, ARTHUR
LEONARD ROBERT MORTON, ALASTAIR
CRAWFORD, ASAF GOLA, KEVIN
GOLLOP, KRZYSZTOF KABACINSKI,
PATRICK MILES, ROBERT PETCH, HAWK
INVESTMENT HOLDINGS LIMITED, and
JOHN DOES 1-75,

       Defendants.

  DEFENDANTS HAWK INVESTMENT HOLDINGS LIMITED AND ARTHUR
LEONARD ROBERT MORTON’S OPENING BRIEF IN SUPPORT OF MOTION TO
   DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT FOR LACK OF
                      PERSONAL JURISDICTION

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Dated: March 13, 2023
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       Defendants Hawk Investment Holdings Limited (“Hawk”) and Arthur Leonard Robert

Morton (“Mr. Morton”) submit this opening brief in support of their motion pursuant to Federal

Rules of Civil Procedure (“FRCP”) 12(b)(2) to dismiss Stream TV Network, Inc.’s (“Stream” or

“Plaintiff”) Second Amended Complaint (“SAC”). Dkt. 54.

                                PRELIMINARY STATEMENT
       Plaintiff alleges there exists a wide-ranging conspiracy involving nine different named

individuals and entities, as well as 75 anonymous “John Does,” all conspiring together to bribe

directors of Stream and steal its assets. The centerpiece of Plaintiff’s conspiracy theory is that the

defendants conspired together to “manufacture” defaults on certain loans belonging to Stream, so

that the defendants could force Stream to turn over its assets. Plaintiff’s conspiracy theory

culminates with the Omnibus Agreement, which Plaintiff alleges was the mechanism by which the

conspiracy wrongfully converted Stream’s assets.

       Stream’s wild accusations, however, are far from the truth. The reality is that Stream

borrowed millions of dollars over a ten-year period, became insolvent, and did not repay its secured

lenders. When Stream defaulted on those loans, Stream’s secured lenders had every right to take

possession of Stream’s collateral. Instead, those secured lenders decided to enter into a friendly

foreclosure arrangement with Stream’s independent directors, memorialized in the Omnibus

Agreement, that would have transferred Stream’s assets to a new entity in which Stream’s

shareholders would have received equity. While the Omnibus Agreement was approved by

Stream’s Board of Directors, the Rajan brothers, who own a controlling share of Stream’s equity,

quickly set about invalidating the Omnibus Agreement any way they could.

       The Delaware Court of Chancery found the Omnibus Agreement to be valid, and entered

a preliminary injunction which prevented Stream from interfering with its enforcement. On appeal,
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however, the Delaware Supreme Court overturned the Omnibus Agreement on a technicality,

finding it had not been approved by Class B shareholders.

       In the aftermath of that ruling, Stream brings this lawsuit recasting the Omnibus Agreement

as the lynchpin of a vast conspiracy among the Defendants. The Rajans, through Stream, have

been fighting tooth and nail in multiple courts to avoid the inevitable implications of Stream’s

default on its secured debt. But Stream is collaterally estopped from advancing its conspiracy

theory. The Delaware Court of Chancery has already explicitly found that Stream is collaterally

estopped from re-litigating that Hawk has secured debt with Stream, Hawk has secured creditor

rights, and that Stream defaulted on its debt to Hawk.

       Stream now turns to this Court for one last Hail Mary because of its losses in a Delaware

state court. However, no amount of “slippery language, which Stream has a history of deploying,”

will change the outcome in this litigation. See Hawk Inv. Holdings Ltd. v. Stream TV Networks,

Inc., 2022 WL 17258460, at *16 (Del. Ch. Nov. 29, 2022) (hereinafter the “Chancery Court

Collateral Estoppel Opinion”). Collateral estoppel bars Plaintiff from advancing its claims. Even

if Stream were permitted to re-litigate its default on its debt, the SAC still fails to establish that

personal jurisdiction exists over Hawk and Mr. Morton. None of the conclusory allegations added

in Plaintiff’s most recent amendment to the complaint come close to changing that outcome.

       In short, the SAC and its outlandish allegations must be dismissed in its entirety, and with

prejudice.

                                  FACTUAL BACKGROUND
       Hawk and Mr. Morton incorporate the Statement of Facts from Defendants’ Joint

Memorandum of Law in Support of the Motions to Dismiss the Second Amended Complaint for

Failure to State a Claim into this brief. In addition, Mr. Morton and Hawk also incorporate the

below facts relevant to this motion to dismiss for lack of personal jurisdiction.

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         A.     Stream and the Rajans
         Plaintiff Stream TV Networks, Inc. is a Delaware corporation with its principal place of

business in Philadelphia, Pennsylvania. SAC ¶ 11. Stream is a media company that aims to create

3-D display technology that would not require the viewer to wear any special glasses. SAC ¶ 11.

Stream formed subsidiaries in the Netherlands, and it is through these operating subsidiaries that

Stream hired engineers to develop Stream's technology. Stream TV Networks, Inc. v. SeeCubic,

Inc., 250 A.3d 1016, 1022 (Del. Ch. 2020) (hereinafter the “Chancery Court PI Opinion.”). 1

Stream's “principal operating subsidiary” is Technovative Media, Inc. (“Technovative”). See In re

Stream TV Networks, Inc. Omnibus Agreement Litig., 2022 WL 4491925, at *4 (Del. Ch. Sept. 28,

2022). The Rajan family controls Stream. SAC ¶ 12.

         B.     Stream Entered Into and Defaulted on the Hawk Notes
         As Stream admits, between 2011 and 2012, SLS loaned Stream $6 million via multiple

senior notes, secured against all assets of Stream and its subsidiaries. SAC ¶ 49. Further, between

2014 and 2020, Hawk loaned Stream over £50 million plus $1.336 million through a series of 17

separate notes (the “Hawk Notes”). SAC ¶ 50.

         By at least February 2020, Stream defaulted on the Hawk Notes. See, e.g., Stream TV

Networks, Inc. v. SeeCubic, Inc., 279 A.3d 323, 327 (Del. 2022) (“by the end of February 2020,

Stream had defaulted on the SLS Notes and Hawk Notes.”) (hereinafter the “Delaware Supreme

Court Decision”); Chancery Court PI Opinion, 250 A.3d at 1020 (“By the time the Omnibus

Agreement was executed, Stream had defaulted on more than $50 million in debt to its secured

creditors.”); Chancery Court Collateral Estoppel Opinion, 2022 WL 17258460, at *14 (“the


1
  This Court is permitted to take judicial notice of other judicial opinions, including opinions from
Delaware’s state courts. See, e.g., In re Raytrans Holding, Inc., 573 B.R. 121 (Bankr. D. Del. 2017)
(taking judicial notice of Delaware state court opinions and dismissing multiple claims in the
complaint under doctrine of collateral estoppel).
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doctrine of collateral estoppel prevents Stream from relitigating the following issues: Hawk holds

secured debt in Stream; Stream defaulted on that debt…”). In addition, Stream also defaulted on

the Hawk Notes when it filed for bankruptcy in February 25, 2021 and by consenting to an

involuntary bankruptcy filed on May 23, 2021. See In re Stream TV Networks, Inc., Case No. 21-

10433-KBO (Bankr. D. Del. Feb. 24, 2021); In re Stream TV Networks, Inc., Case No. 21-10848-

KBO (Bankr. D. Del. May 23, 2021).

         C.     Stream’s Creditors Enter Into the Omnibus Agreement with Stream
         After Stream defaulted on the notes, a “flurry of activity” followed, which resulted in the

appointment of the Outside Directors2 to Stream’s board and the creation of the Resolution

Committee on May 4, 2020. SAC ¶ 76. The directors on the Resolution Committee were Asaf Gola

and Kevin Gollop. SAC ¶ 71.

         On May 6, 2020, the Outside Directors approved the Omnibus Agreement, “purporting to

bind Stream to a global settlement of pending litigations. The Omnibus Agreement also

contemplated the transfer of all of Stream’s assets to a ‘Newco’ established and controlled by SLS

and Hawk. ‘Newco’ was later identified as SeeCubic.” SAC ¶ 77. The Rajan Brothers abstained

from the vote, but the three directors who voted in favor of the Omnibus Agreement constituted a

quorum of the Stream Board. Delaware Supreme Court Opinion, 279 A.3d at 328.

         As described by the Delaware Supreme Court:

         The Omnibus Agreement provided that Stream would assign its assets to SeeCubic
         in lieu of SLS and Hawk continuing to pursue foreclosure, and SeeCubic would
         allow Class A common stockholders to exchange their shares [for shares in
         SeeCubic].

Delaware Supreme Court Opinion, 279 A.3d at 328 (internal quotations omitted); see also SAC ¶

81.


2
    The SAC defines the Outside Directors as Mssrs. Kabacinski, Gola, and Gollop.
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       D.     Delaware Supreme Court Finds the Omnibus Agreement Invalid
       Almost immediately after the Omnibus Agreement was signed, the Rajans set about to have

it invalidated. Delaware Supreme Court Opinion, 279 A.3d at 329. Stream filed suit on September

8, 2020, in the Delaware Court of Chancery, against SeeCubic (the “Omnibus Agreement

Litigation”). In the Omnibus Agreement Litigation, Stream sought to invalidate the Omnibus

Agreement and moved for a temporary restraining order which barred SeeCubic from enforcing

the Omnibus Agreement. Id. SeeCubic filed counterclaims, and also sought a preliminary

injunction to prevent Stream from interfering with the enforcement of the Omnibus Agreement.

       The Court of Chancery entered an opinion and order on December 8, 2020, which in

relevant part found that the Resolution Committee had the authority to bind Stream, and that the

Omnibus Agreement did not require approval from the Class B shareholders of Stream. See

Chancery Court PI Opinion, 250 A.3d at 1046. The Chancery Court PI Opinion was subsequently

entered as a partial final judgment, which Stream appealed to the Delaware Supreme Court.

       On June 15, 2022, the Delaware Supreme Court issued an opinion finding that the Omnibus

Agreement was not valid because Stream’s Class B Shareholders did not vote to approve it. SAC

¶ 111. The Delaware Supreme Court found that approval of the Omnibus Agreement required

approval by Stream’s Class B shareholders because the Omnibus Agreement effected an “Asset

Transfer” under Stream’s charter. The Delaware Supreme Court Opinion, 279 A.3d at 338.

       Despite Plaintiff’s claim that “the Supreme Court’s ruling confirms that Gollop and Gola

wrongfully caused Stream TV to enter into the Omnibus Agreement and that Defendants’

appropriation of Stream TV’s assets was unlawful” (SAC ¶ 111), the Delaware Supreme Court

never described the Omnibus Agreement as “unlawful” or “wrongful.”

       Contrary to Defendants’ assertions, on remand following the Delaware Supreme Court

Opinion, the Delaware Court of Chancery found that Stream’s secured creditors retained their

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rights in the collateral. Stream TV Networks, Inc. v. Seecubic, Inc., 2022 WL 3227785, at *1

(Del.Ch. Aug. 09, 2022) (Once [the return of the assets to Stream as contemplated by the Delaware

Supreme Court Opinion] has occurred, SeeCubic may seek to exercise any creditor's rights it

possesses against Stream.”); In re Stream TV Networks, Inc. Omnibus Agreement Litig., 2022 WL

4491925, at *4 (Del. Ch. Sept. 28, 2022) (“The court believes that the rights that secure creditors’

rights [sic] are strong and may well result in Stream having to transfer the Legacy Stream Assets

back to SeeCubic in its capacity as Hawk's designee and agent.”).

       E.      Delaware Chancery Court Collateral Estoppel Opinion
       On October 17, 2022, Hawk attempted to exercise its secured creditor rights by replacing

the directors of Technovative, a wholly-owned subsidiary of Stream, and ordering Technovative

to marshal the collateral being held by Technovative. See Ex. 1 ¶¶ 5-8.3 When Stream and the

Rajans refused to comply, Hawk brought suit pursuant to 8 Del. C. § 225 in the Delaware Court

of Chancery, seeking a declaratory judgment that it had validly reconstituted the board of directors

of Stream. See Hawk Investment Holdings, Ltd. v. Stream TV Networks, Inc., C.A. No. 2022-0930-

JTL (Del. Ch. 2022) (hereinafter the “225 Action.”).

       In the 225 Action, Hawk moved for partial summary judgment on the grounds that Stream

was collaterally estopped from advancing several arguments that were adjudicated adversely to

Stream in the Omnibus Agreement Litigation. The Court of Chancery granted Hawk’s motion for

partial summary judgment, and specifically found the following:

       In this case, the doctrine of collateral estoppel prevents Stream from relitigating the
       following issues:

       • Hawk holds secured debt in Stream;

3
 “Ex. _” refers to the exhibits attached to the Declaration of Steven L. Caponi in Support of
Defendants Hawk Investment Holdings Limited and Arthur Leonard Robert Morton’s Opening
Brief in Support of their Motion to Dismiss Plaintiff’s Second Amended Complaint for Lack of
Personal Jurisdiction filed contemporaneously herewith.
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       • Stream defaulted on that debt;
       • Hawk has valid creditor rights;
       • Stream cannot convert that secured debt to equity without raising additional
       capital; and
       • as of November 10, 2021, Stream had not converted the secured debt.

       Each of these issues was litigated in the Omnibus Agreement Litigation and
       resulted in a final decision on the merits.

Chancery Court Collateral Estoppel Opinion, 2022 WL 17258460, at *14–15. The Court also

noted that “Stream had every incentive to raise all available challenges to the validity of the secured

debt that supported the Omnibus Agreement.” Id. at *16.

       The Court of Chancery explicitly ruled that collateral estoppel prevented Stream from

advancing its argument that Stream’s defaults were “manufactured” by some sort of conspiracy:

       Evidencing its wily ways with words, Stream argues that although it purportedly is
       not challenging the court's prior finding that “a default event on the Hawk notes
       occurred in early 2020,” Stream nevertheless remains free to litigate its contention
       that there was an “unlawful conspiracy that artificially manufactured the 2020
       default events through bribery and internal sabotage.” Id. at 2–3. That is another
       way of contending that a default never really occurred. If Stream wanted to advance
       that argument, it had to do so in the Omnibus Agreement Litigation. Collateral
       estoppel bars Stream from advancing that argument now.

Id. at *17. The collateral estoppel effect of the Court’s rulings extends to November 10, 2021, the

date on which the Court of Chancery entered a partial final summary judgment against Stream. Id.

at *17 (“Collaterel estoppel does not bar Stream from litigating about events that may have

happened after November 10, 2021.”).

       F.      Defendants Hawk and Mr. Morton
       Plaintiff alleges that “[u]pon information and belief, Mr. Morton owns and/or controls

Defendant [Hawk], Stream TV’s junior secured creditor, through other entities owned and

controlled by him, including Albany Directors Limited.” SAC ¶¶ 15, 16. But this is not true.

Albany Directors Limited (“Albany”) is an independent company and the sole director of Hawk.

Ex. 2 ¶ 1.

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       Hawk is owned by the Morton Family Trust, and Mr. Morton is not a trustee of the Morton

Family Trust. Id. ¶ 2. Mr. Morton is not a director, officer, or manager of Hawk, and has no

decision-making authority at Hawk. Id. ¶ 3. Mr. Morton is solely an investment advisor to Hawk,

and it is Albany that decides what actions Hawk should take. Id. ¶ 4; Ex. 3 at 14:17-15:19 (“I have

a consulting agreement, which is with my company called Hawk Consulting Limited…And I have

this contract with Hawk, so they contact me for advice from time to time and I -- I will make

recommendations to them in terms of investments and then it's up to them to make a decision as

to whether they wish to follow that or not.”); Ex. 3 at 17:12-18:2 (“there isn’t an investment

committee as such, because basically all the investments are made and controlled by the directors

of the trust, which is Albany Trustees, and they make all the decisions and they run it.”).

                                          ARGUMENT
I.     DISMISSAL IS APPROPRIATE BECAUSE THE COURT CANNOT EXERCISE
       PERSONAL JURISDICTION OVER MR. MORTON AND HAWK
       Dismissal of all claims against Mr. Morton and Hawk is warranted under Fed. R. Civ. P.

12(b)(2), because this Court does not have personal jurisdiction over either Hawk or Mr. Morton.

To exercise personal jurisdiction over a non-resident defendant, there must existat a

minimuma meaningful act or impact that occurred in Delaware. Here, however, the SAC is

devoid of any facts suggesting Mr. Morton or Hawk ever set foot in Delaware, let alone committed

a tortious act in Delaware. Similarly, the SAC fails to plead that Hawk or Mr. Morton took an

action outside of Delaware that had a meaningful impact inside Delaware. As a result, the SAC

cannot satisfy the requirements of Delaware’s long arm statute, 10 Del. C. § 3104.

       Unable to plead facts that would support jurisdiction, the First Amended Complaint only

advanced three theories for the exercise of personal jurisdiction over Hawk and Mr. Morton: (i)

that they directly transacted business and caused tortious injury in Delaware under the long-arm


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statute; (ii) that they participated in a conspiracy which caused an injury in Delaware; and (iii) that

Hawk’s alleged contacts should be imputed to Mr. Morton because of his alleged ownership and

control of Hawk, which serves to subject Mr. Morton to personal jurisdiction. In the SAC, Plaintiff

adds one new theory and modifies another: (iv) that Hawk consented to jurisdiction in Delaware

by executing the Omnibus Agreement, which contained a forum selection clause in favor of

Delaware, and (v) that Mr. Morton is the “alter ego” of Hawk. SAC ¶¶ 26, 27. Each theory has

unique flaws, but they all share a common fatal flaw. Specifically, there are no tortious acts that

are alleged to have occurred in Delaware. Additionally, collateral estoppel bars Plaintiff from

advancing its argument that the defendants manufactured the defaults, which argument is a

necessary element of their conspiracy theory of jurisdiction. Because the SAC is completely

devoid of any particularized allegations sufficient to subject Mr. Morton or Hawk to this Court’s

jurisdiction, the SAC should be dismissed in its entirety as to Hawk and Mr. Morton.

       A.      Standard of Review
       Where federal court jurisdiction is based on diversity of citizenship, federal courts must

analyze the long-arm statute of the state in which the court is located. See Gordian Med., Inc. v.

Misty Vaughn and Curitec, LLC, 2022 WL 1443917 at *3 (D. Del., May 6, 2022).

       Delaware courts apply a two-step analysis in determining the existence of personal

jurisdiction over a nonresident defendant. First, the Court must “consider whether Delaware's long

arm statute is applicable.” Hercules Inc. v. Leu Tr. & Banking (Bahamas) Ltd., 611 A.2d 476,

480–81 (Del. 1992).      “Next, the court must determine whether subjecting the nonresident

defendant to jurisdiction in Delaware violates the Due Process Clause of the Fourteenth

Amendment.” Id. at 481. The burden rests with the plaintiff to make “a prima facie case

establishing jurisdiction over the nonresident.” Ruggiero v. FuturaGene, plc., 948 A.2d 1124, 1131

(Del. Ch. 2008). Conclusory allegations regarding jurisdiction are insufficient to defeat a motion

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to dismiss. See Parker v. Learn Skills Corp., 530 F. Supp. 2d 661, 670 (D. Del. 2008) (“[A]t no

point may a plaintiff rely on the bare pleadings alone in order to withstand a defendant's Rule

12(b)(2) motion to dismiss for lack of in personam jurisdiction.”).

       B.      Plaintiff Cannot Demonstrate that Mr. Morton or Hawk is Subject to
               Jurisdiction Under Delaware’s Long-Arm Statute

       Plaintiff appears to primarily argue this Court has personal jurisdiction over Mr. Morton

and Hawk because they “transact business and perform[] work in Delaware, and because [they]

caused tortious injury to Stream TV within Delaware.” SAC ¶ 26, 30. These conclusory

allegations, which misstate the applicable requirements under the long-arm statute, implicates 10

Del. C. § 3104(c)(1), (3), and (4). As a nonresident defendant, this Court may only exercise

personal jurisdiction over Hawk and Mr. Morton pursuant to 10 Del. C. § 3104(c) if Hawk or Mr.

Morton:

               (1) transacts any business or performs any character of work or
               service in the State…(3) causes tortious injury in the state by an act
               or omission in this State…[or] (4) causes tortious injury in the state
               or outside of the State by an act or omission outside the State if the
               person regularly does or solicits business, engages in any other
               persistent course of conduct in the State, or derives substantial
               revenue from services, or things consumed in the State.

10 Del. C. § 3104(c)(1),(3)-(4). Subsections (c)(1) and (c)(3) authorize “transactional” or

“specific” jurisdiction in cases where the cause of action arises out of the defendant's conduct in

the State of Delaware. See Comput. People, Inc. v. Best Int'l Grp., Inc., 1999 WL 288119, at *5

(Del. Ch. Apr. 27, 1999). In contrast, subsection (c)(4) implicates tortious impacts from outside

the state felt inside it, but requires additional contacts with Delaware on the part of defendant.

       With regard to Subsections (c)(1) and (c)(3), to establish personal jurisdiction the SAC

must allege, but does not, that Mr. Morton and Hawk engaged in tortious conduct within the state

of Delaware or caused a tortious impact in Delaware. While the SAC slanderously attacks Mr.

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Morton’s personal character, it fails to allege a single tortious act or impact that occurred in

Delaware as a result of Mr. Morton or Hawk’s conduct outside of the state. Indeed, none of the

conclusory allegations in the SAC allege or establish that Mr. Morton or Hawk “transacts business

or performs any character of work or service in the State,” as is required by 10 Del. C. § 3104(c)(1).

       What is alleged in the SAC are a series of interactions between Stream and its secured

lenders, almost all of which occurred outside Delaware. Specifically, Plaintiff alleges that:

       a) Mr. Morton concocted a scheme with Mr. Stastney and Mr. Crawford to transfer
          Stream’s assets to a new entity, directed Stream employees in furtherance of the
          scheme, and recruited Hawk for the scheme;

       b) Hawk loaned money to Stream;

       c) Mr. Morton requested that Mr. Kabacinski serve as a director of Stream as part of the
          scheme;

       d) Hawk “defamed the Rajans in an attempt to prevent Stream TV from raising funds;”

       e) Mr. Morton “maintained a good relationship with the Rajans” as part of the scheme;

       f) Hawk entered into the Omnibus Agreement, and Mr. Morton enticed and encouraged
          certain Stream directors to approve the Omnibus Agreement; and

       g) Hawk exercised its rights under the Notes and pledge agreements and initiated a
          proceeding in the Delaware Court of Chancery pursuant to 8 Del. C. § 225.

See SAC ¶¶ 6, 22, 50, 54, 60-61, 63, 65-66, 79, 117-18, 127, 145.

       As an initial matter, these threadbare allegations are insufficient to prevail over a motion

to dismiss pursuant to FRCP 12(b)(2). See Parker, 530 F. Supp. 2d at 670; see also Greenly v.

Davis, 486 A.2d 669, 670 (Del. 1984) (affirming dismissal for lack of personal jurisdiction and

assigning “little weight to vague, general assertions” of plaintiff and stating the “burden was upon

plaintiff to make a specific showing that the Delaware court has jurisdiction under the long-arm

statute”). The law requires more than unsupported conclusory allegations before a court may

lawfully exercise personal jurisdiction over a nonresident defendant. The SAC falls woefully short



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of the requirement to plead particularized facts necessary to support personal jurisdiction over Mr.

Morton and Hawk.

       Even if, however, one takes these allegations at face value, they still fail to satisfy

subsections (c)(1), (c)(3), and (c)(4) because all but one of the actions are alleged to have occurred

outside Delaware. See TriStrata Tech., Inc. v. Neoteric Cosmetics., Inc., 961 F. Supp. 686, 690-91

(D. Del. 1997) (under subsections (c)(1) and (c)(3) “some act must actually occur in Delaware”

and under subsection (c)(4) there must be a “persistent course of conduct” in Delaware). The

centerpiece of the conspiracy, the Omnibus Agreement (which Mr. Morton is not even a party to),

is not even alleged to have been negotiated in Delaware. Additionally, none of the parties have

any relationship or contacts with Delaware. Equally troubling, none of the allegedly improper acts

caused a tortious impact in Delaware.

       With regard to the Omnibus Agreement, it is undisputed that the document was negotiated,

drafted and executed outside of Delaware, and a fact the SAC fails to contradict. As for the parties

who were involved with the Omnibus Agreement, none were residents of Delaware: Mr. Stastney

- New Jersey (SAC ¶ 14); Messrs. Morton and Gollop - Bailiwick of Jersey (SAC ¶¶ 15,21);

Hawk - Bailiwick of Guernsey (SAC ¶ 16); Messrs. Crawford, Miles, Petch, and Kabacinski -

United Kingdom (SAC ¶ 17-19, 22); and Mr. Gola - New York (SAC ¶ 20). There are no

particularized allegations that any of these nonresident defendants committed any acts in Delaware

related to the claims asserted in the SAC.4




4
 To the extent that Stream argues that merely executing the Omnibus Agreement subjected Hawk
to personal jurisdiction in Delaware because Stream is a Delaware entity, Delaware courts “have
rejected attempts to satisfy subsection (c)(1) [of the long-arm statute] based upon little more than
a contract partner’s status as a Delaware company or resident.” Yankees Entertainment and Sports
Network, LLC v. Hartford Fire Ins. Co., 2022 WL 6735556, at *4 (D. Del Oct. 11, 2022).
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       Stream argues that by executing the Omnibus Agreement, which contains a Delaware

forum selection clause, Hawk has consented to jurisdiction in Delaware for this case. This is

clearly not true. This Action does not “arise out of” or “in connection with” the Omnibus

Agreement. SAC, Ex. A (Omnibus Agreement, § 5.4). Plaintiff does not assert a claim for breach

of the Omnibus Agreement against any defendant, and in any event the Omnibus Agreement is

dead. See Stream TV Networks, Inc. v. Seecubic, Inc., 2022 WL 3283863, at *1 (Del. Ch. Aug.

10, 2022) (“In accordance with the mandate of the Delaware Supreme Court…[t]he Omnibus

Agreement is therefore without legal effect.”). Stream cannot have it both ways: Stream fought

tooth and nail to have the Omnibus Agreement invalidated, yet it now seeks to enforce the

agreement’s forum selection clause to exercise personal jurisdiction over Hawk in a different

dispute. This position is legally untenable.

       For its part, Stream is a Delaware entity, but has no physical presence in Delaware and

maintains its principal place of business is Pennsylvania. SAC ¶ 11. Stream is a holding company

whose operations are carried out through various operating subsidiaries which conduct the research

and development behind Stream’s technology. They are located in the Netherlands. See Ex. 4 ¶

20 (admitting that “Stream TV was the 100% owner of [Technovative], a Delaware corporation,

which in turn is the 100% direct or indirect owner of Technology Holdings Delaware, LLC, Media

Holdings Delaware, LLC, Ultra-D Ventures, C.V., Ultra-D Coöperatief U.A., Stream TV

International B.V. and SeeCubic B.V. (with Ultra-D Ventures, C.V., Ultra-D Coöperatief U.A.,

and Stream TV International B.V., the “Dutch Subsidiaries”). The SAC is devoid of any allegation

that any of the parties ever set foot in Delaware in furtherance of or as part of the implementation

of a tortious injury – let alone directed any part of a conspiracy towards Delaware.




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       There are only two connections to Delaware that Plaintiff alleges. The first is that Stream

is incorporated in Delaware. But this is too thin a reed upon which Plaintiff can rest its

jurisdictional argument. Defendants have found no case in which a Delaware court has held that a

plaintiff corporation’s injury was said to take place in Delaware solely by virtue of a plaintiff’s

incorporation in Delaware. This is not surprising, as Delaware precedent holds the opposite is

true. See Fortis Advisors LLC v. Johnson & Johnson, 2021 WL 5893997, at *6 (Del. Ch. Dec. 13,

2021); see also Iotex Commc’ns, Inc. v. Defries, 1998 WL 914265 at * 7–8 (Del. Ch. Dec. 21,

1998) (“In the case of Delaware corporations having no substantial physical presence in this State,

an allegation that a civil conspiracy caused injury to the corporation by actions wholly outside this

State[ ] will not satisfy the [requirements of conspiracy theory jurisdiction].”).

       The second is that Hawk exercised its rights by issuing a proxy notice under the Notes after

Stream defaulted, and by initiating a proceeding pursuant to 8 Del. C. § 225. These are the only

actions that are alleged to have occurred in Delaware. But Hawk has not submitted to this Court’s

jurisdiction by vindicating its rights in an unrelated lawsuit in the same jurisdiction. See Yankees

Enter. and Sports Network, LLC v Hartford Fire Ins. Co., 2022 WL 6735556, at *2 (D. Del Oct.

11, 2022). In Yankees Entertainment, the District Court stated that under Delaware law, a party

has only consented to jurisdiction via litigation if it instituted a “related suit” that has a “logical

relationship” with the present suit. Id. A “logical relationship exists where there are “parallel suits

between identical parties.” Id.

       According to the Yankees Entertainment test, this Action is not a “parallel suit” because it

concerns different issues than the present suit. In the 225 Action, Hawk seeks a declaration that it

validly replaced the director of Technovative and amended the bylaws of Technovative, whereas

here, Stream alleges there was a vast conspiracy to steal its assets via the Omnibus Agreement. In



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addition, the parties are not identical, as Hawk is the plaintiff in the 225 Action and the defendants

are Stream and Technovative. In the present suit, the plaintiff is Stream but the defendants are

Hawk, a number of officers, directors, and investors in Stream, and “John Does 1-75.” This is

insufficient to satisfy the Yankees Entertainment test.

       In addition, Hawk’s decision to issue a proxy notice pursuant to its secured creditor rights,

and its decision to initiate the 225 Action, cannot be tortious. The Court of Chancery explicitly

found that Hawk had standing to bring the 225 Action, and found that Stream was collaterally

estopped from arguing that any of the prerequisites to Hawk’s exercise of the secured creditor

rights did not exist. See Chancery Court Collateral Estoppel Opinion, 2022 WL 17258460, at *8,

14-15. Stream even concedes that Hawk had the right to bring the 225 Action. Id. at *7 (“Stream

concedes that Hawk has statutory standing as a stockholder of Stream to pursue this Section 225

proceeding.”). Hawk’s exercise of its secured creditor and statutory rights is not tortious conduct

that can subject Hawk to personal jurisdiction in Delaware.

       Plaintiff cannot demonstrate jurisdiction exists under subsection (c)(1) or (c)(3), and it

certainly has no hope of satisfying the “greater, more continuous pattern of contacts” with the

forum state that are required under subsection (c)(4). Comput. People, 1999 WL 288119, at *5.

       C.      Plaintiff Cannot Demonstrate that Conspiracy Jurisdiction Exists

       Plaintiff next relies on the conspiracy theory of jurisdiction, which stems from 10 Del. C.

§ 3104. Even if the Court were to find that the SAC contained allegations of actions that took place

in Delaware, the conspiracy theory of jurisdiction would still fail because Plaintiff is collaterally

estopped from arguing that defendants carried out a vast conspiracy.

       Under the conspiracy theory of jurisdiction, a plaintiff may establish personal jurisdiction

over a nonresident defendant only if it satisfies the following five elements:



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       (1) a conspiracy...existed;
       (2) the defendant was a member of the conspiracy;
       (3) a substantial act or substantial effect in furtherance of the conspiracy occurred in the
       forum state;
       (4) the defendant knew or had reason to know the act in the forum state or that acts outside
       the forum state would have an effect in the forum state; and
       (5) the act in, or effect on, the forum state was a direct and foreseeable result of the conduct
       in furtherance of the conspiracy.

Comput. People, 1999 WL 288119, at *6.

       “Importantly, this test is a strict test that should be construed narrowly.” Werner v. Miller

Tech. Mgmt., L.P., 831 A.2d 318, 330 (Del. Ch. 2003). This is necessary to prevent the conspiracy

theory of jurisdiction from becoming a “facile way for a plaintiff to circumvent the minimum

contacts requirement of International Shoe Co. v. Washington.” Comput. People, 1999 WL

288119, at *6. Furthermore, the “application of personal jurisdiction under the conspiracy theory

requires factual proof of each enumerated element.” Id; see also Newspan, Inc. v. Hearthstone

Funding Corp., 1994 WL 198721, at *8 (Del. Ch. May 10, 1994); Comput. People, 1999 WL

288119, at *6 (“where a conspiracy is alleged and the defendants submit factual evidence

controverting personal jurisdiction as to them, the plaintiff may not rely upon conclusory

allegations in his pleading that are unsupported by evidence.”).

       Plaintiff cannot meet this strict test. In the instant case, collateral estoppel bars Stream

from arguing a conspiracy to manufacture Stream’s default on the Hawk Notes and seize Stream’s

assets took place. Stream had every incentive in the Omnibus Agreement Litigation to argue that

the defaults were illegitimate because they were “manufactured.” The record from the Delaware

Court of Chancery and Delaware Supreme Court is clear that Stream’s secured creditors had rights

to Stream’s assets following Stream’s default, but that those secured creditors sought instead to

enter into a friendly foreclosure via the Omnibus Agreement which was approved by Stream’s

Outside Directors. The Delaware Court of Chancery held in the 225 Action that:

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       • Hawk holds secured debt in Stream;
       • Stream defaulted on that debt; and
       • Hawk has valid creditor rights.

Chancery Court Collateral Estoppel Opinion, 2022 WL 17258460, at *14–15.

       The Court of Chancery explicitly ruled that Stream is collaterally estopped from arguing

there was a conspiracy which “manufactured the defaults. Id. at *17 (“Stream [contends that it]

nevertheless remains free to litigate its contention that there was an ‘unlawful conspiracy that

artificially manufactured the 2020 default events through bribery and internal sabotage.’ That is

another way of contending that a default never really occurred. If Stream wanted to advance that

argument, it had to do so in the Omnibus Agreement Litigation.”) (internal citation omitted).

       The Omnibus Agreement itself belies any claims of a conspiracy. The Omnibus Agreement

was not hidden in any way; it was executed out in the open, and approved by Stream’s outside

directors. It was approved as an alternative to the secured creditors exercising their secured creditor

rights. The Delaware Court of Chancery approved the validity of the Omnibus Agreement, though

it was later overturned by the Delaware Supreme Court on a technicality.

       Stream cannot attempt to raise its conspiracy argument now because of the doctrine of

collateral estoppel. Indeed, collateral estoppel limits Stream to only litigating the actions that took

place after November 10, 2021. See Chancery Court Collateral Estoppel Opinion, 2022 WL

17258460, at *17. But the only actions even alleged to take place after November 10, 2021the

exercise of the secured creditor rights and initiation of the 225 Actionare not tortious. If Stream

cannot demonstrate that the defaults under the Notes were “artificially manufactured” as part of a

conspiracy to steal Stream’s assets, Stream’s conspiracy theory collapses like a house of cards.




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       D.      Hawk’s Contacts with Delaware May Not Be Imputed to Mr. Morton

       In the SAC, Plaintiff asserts in conclusory fashion that “Morton completely dominates

Hawk, his alter ego, because he caused Hawk to sign the Omnibus Agreement.” SAC ¶ 26. Even

assuming, arguendo, that collateral estoppel was not a complete bar to Plaintiff’s conspiracy

jurisdiction theory and that Plaintiff could demonstrate that Hawk had sufficient contacts with

Delaware to exercise personal jurisdiction, those contacts cannot be imputed to Mr. Morton.

       Stream cannot demonstrate that Hawk is an alter ego of Mr. Morton, and therefore Hawk’s

contacts to Delaware cannot be imputed to Mr. Morton. “Disregard of the corporate entity is

appropriate only in exceptional circumstances,” and it is “the party who wishes the court to

disregard that form bears the burden of proving that there are substantial reasons for doing so.”

Mobil Oil Corp. v. Linear Films, Inc., 718 F. Supp. 260, 270 (D. Del. 1989) (internal quotation

omitted). Under the alter ego theory, “the party asserting jurisdiction must establish some fraud,

injustice, or inequity in the use of the corporate form.” C.R. Bard, Inc. v. Guidant Corp., 997 F.

Supp. 556, 559 (D. Del. 1998). In addition, factors that may indicate an alter ego relationship

include a lack of corporate formalities, commingling of assets and operations, and the exercise of

complete domination and control over the company. Mobil Oil, 718 F.Supp. at 270.

       Aside from Plaintiff’s conclusory allegation that “Morton completely dominates Hawk,”

Plaintiff has not pleaded any allegations demonstrating that Mr. Morton exercises complete

domination or control over Hawk. Plaintiff alleges “upon information and belief, Morton owns

and/or controls Defendant [Hawk], Stream TV’s junior secured creditor, through other entities

owned and controlled by him, including Albany Directors Limited,” and that “Morton controls

Hawk and is the only decision-maker for Hawk.” SAC ¶¶ 15-16. These allegations are incorrect.

Stream advanced exactly this argument in the Court of Chancery and lost. Stream sought a



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deposition of Mr. Morton in the 225 Action, claiming that Mr. Morton was the “principal” of

Hawk. In response to Stream’s motion, Hawk produced an affidavit from Albany. See Ex. 2. The

Albany Declaration stated that: (a) Albany is the sole director of Hawk; (b) Hawk is owned by the

Morton Family Trust, and Mr. Morton is not a trustee of the Morton Family Trust; (c) Mr. Morton

is not a director, officer, or manager of Hawk, and has no decision-making authority at Hawk; and

(d) Mr. Morton is solely an investment advisor to Hawk, and it is Albany that decides what actions

Hawk should take. Ex. 2 ¶¶ 1-4.

       The Delaware Court of Chancery ordered Hawk to produce a 30(b)(6) witness with

knowledge of decision-making at Hawk and the Morton Family Trust. Ex. 5 at 14:14-16:4. Mr.

Morton voluntarily agreed to sit for a remote deposition from his home in Barbados, despite the

Court’s holding that he was outside of its jurisdiction and could not be compelled to testify. During

the deposition, Mr. Morton confirmed the contents of the Albany Declaration. Mr. Morton testified

that Albany, not Mr. Morton, exercised ultimate decision-making authority over Hawk. See Ex. 3

at 14:17-15:19; id. at 17:12-18:2.

       Mr. Morton also testified that since 2016, including during the period of the alleged

conspiracy, he has been dealing with serious health problems. Id. at 11:21-12:14. The Court of

Chancery succinctly summarized the situation:

       Hawk asked whether Stream would object if it produced Morton, even if Morton
       turned out to be a tangential witness. Stream agreed not to object, and Hawk
       produced Morton. He turned out not to have been meaningfully involved in the
       negotiation of the Assignment Agreement, and he also suffered from health and
       memory problems associated with advanced age. The deposition lasted only one
       hour because it was evident to everyone that Morton was having difficulty.

Chancery Court Collateral Estoppel Opinion, 2022 WL 17258460 at *13.

       Albany’s declaration, Mr. Morton’s testimony, and the Court of Chancery’s summary

directly contradict any allegation that Mr. Morton exercises complete domination and control over

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Hawk. See Mobil Oil, 718 F.Supp. at 270. In fact the direct evidence actually contradicts any

assertion that Mr. Morton controls Hawk or Albany. Plaintiff has thus failed to meet the standard

for demonstrating that Hawk is the alter ego of Mr. Morton.

        E.      Plaintiff Cannot Demonstrate a Constitutional Basis to Assert Jurisdiction
                over Mr. Morton
        Finally, even if Plaintiff could establish a statutory basis for jurisdiction in Delaware over

Mr. Morton or Hawk, this Court cannot exercise jurisdiction over either because it would offend

the Due Process Clause. For jurisdiction to be appropriate under the Due Process Clause, three

requirements must be satisfied: (1) “the defendant must have purposefully directed its activities at

the forum”; (2) “the litigation must arise out of or relate to at least one of those activities”; and (3)

“if the prior two requirements are met, a court may consider whether the exercise of jurisdiction

otherwise comports with fair play and substantial justice.” O’Connor v. Sandy Lane Hotel Co.,

496 F.3d 312, 317 (3d Cir. 2007) (internal quotations omitted). With one exception, the SAC does

not allege that Mr. Morton or Hawk purposely took any actions in Delaware, communicated with

Delaware citizens, or that they availed themselves of the privileges of doing business in Delaware.

Hanson v. Denckla, 357 U.S. 235, 253 (1958). The sole exception in the SAC are Stream’s

allegations that Hawk exercised its secured creditor rights and initiated the 225 Action, but for the

reasons specified in Section I.B, those actions were not tortious and this litigation does not arise

out of those activities.

                                           CONCLUSION

        Defendants Hawk and Mr. Morton respectfully request that the claims in the SAC asserted

against them be dismissed in their entirety, with prejudice.




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Dated: March 13, 2023              K&L GATES LLP

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